    Case: 3:17-cv-50233 Document #: 31 Filed: 06/22/18 Page 1 of 2 PageID #:200




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

LORI E. SCHUMACHER                            )
                                              )
               Plaintiff,                     )       CASE NO. 3:17-cv-50233
                                              )
       -v-                                    )
                                              )       Honorable Philip G. Reinhard
FIFTH THIRD BANK, N.A.                        )       Magistrate Hon. Iain D. Johnston
                                              )
               Defendant.                     )

                                  NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that Plaintiff, Lori E. Schumacher, and Defendant, Fifth Third

Bank, N.A., have reached a settlement in the above-captioned case. The parties anticipate filing a

stipulated dismissal, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), within forty-five (45) days.


DATED this 22nd day of June, 2018.                   Respectfully Submitted,


                                                       /s/ Geoff B. McCarrell
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                                                     CONSUMER LAW PARTNERS, LLC
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                                                     geoff.m@consumerlawpartners.com

                                                     Counsel for Plaintiff
    Case: 3:17-cv-50233 Document #: 31 Filed: 06/22/18 Page 2 of 2 PageID #:201



                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and accurate copy of the foregoing Notice of

Settlement is being filed electronically with the United States District Court for the Northern District

of Illinois, on this 22nd day of June, 2018. Notice of this filing will be transmitted to counsel of

record via this Court’s electronic notification system, CM/ECF.



                                                       /s/ Geoff B. McCarrell
                                                      Geoff B. McCarrell #0086427
                                                      CONSUMER LAW PARTNERS, LLC




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